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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 9:13 -CR-21(3)
                                                §
 SHANARA GREER                                  §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

 On June 27, 2014, this cause came before the undersigned United States Magistrate Judge for

 entry of a guilty plea by the defendant, Shanara Greer, on Count One and Count Two of the

 charging Information filed in this cause.

        Count One of the Information charges that from on or about August 27, 2010, and

 continuing thereafter until June 20, 2011, in the Eastern District of Texas, Shanara Greer,

 defendant, did knowingly and intentionally possess with the intent to distribute a Schedule II



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 controlled substance, namely, a mixture or substance containing a detectable amount of cocaine,

 in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

        Count Two of the Information charges that beginning on or about October 15, 2009, and

 continuing thereafter until May 23, 2012, Shanara Greer, defendant, did willfully and knowingly

 make and cause to be made, and use and cause to be used, in a matter within the jurisdiction of a

 department or agency of the United States, a false writing or document, knowing the same to

 contain a materially false, fictitious and fraudulent statement.      Specifically, the defendant

 submitted a request for benefits to the Nacogdoches Housing Authority, at 715 Summit Street,

 Nacogdoches, Texas, which receives federal funding from the United States Department of

 Housing and Urban Development, requesting rental subsidies on behalf of S.A. and J.M., whom

 the defendant annually certified as living with her, well knowing and believing that S.A. and

 J.M. were not residing in her residence at the time of certification, in violation of 18 U.S.C.

 § 1001.

        Defendant, Shanara Greer, entered a plea of guilty to Count One and Count Two of the

 Information into the record at the hearing. She also executed a waiver of indictment.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.



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        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that her conduct falls within the definition of the crimes charged under 21 U.S.C.

 § 841(a)(1) and 18 U.S.C. § 1001.

                                    STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of witnesses, including expert witnesses, as well as through

 admissible exhibits, each and every essential element of the crimes charged in Counts One and

 Two of the Information. The Government would also prove that the defendant is one and the

 same person charged in the Information and that the events described in the Information occurred

 in the Eastern District of Texas and elsewhere. The Court incorporates the proffer of evidence

 described in detail in the factual basis and stipulation in support of the guilty plea.



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        Defendant, Shanara Greer, agreed with and stipulated to the evidence presented in the

 factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

 and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

 presented by the Government and personally testified that she was entering his guilty plea

 knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offenses charged in Count One and Count Two of the charging Information on

 file in this criminal proceeding. The Court also recommends that the District Court accept the

 plea agreement pursuant to Federal Rule of Criminal Procedure 11(c). Accordingly, it is further

 recommended that, Defendant, Shanara Greer, be finally adjudged as guilty of the charged

 offenses under Title 21, United States Code, Section 841(a)(1) and 18 U.S.C. § 1001.

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity to

 consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea



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    agreement, the Court will advise Defendant in open court that it is not bound by the plea

    agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

    the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

    and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

    Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

    before the District Court before imposition of sentence.



                     SIGNED this the 30th day of June, 2014.




                                                         ____________________________________
                                                         KEITH F. GIBLIN
                                                         UNITED STATES MAGISTRATE JUDGE




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